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                     EXHIBIT A
    Case 2:21-cv-03051-ODW-KES Document 1-1 Filed 04/08/21 Page 2 of 20 Page ID #:16




                                               SEJMM06VS                                                                     ~                 -`
                                      (CITAC/ON JUD/CIAL)
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                                                                                                                                p ~er.Co
                                                                                                                               u~
                                                                                                                                         VA-vk- a
                                                                                                                                 County o1 toa Angetes
    NOTICE TO DEFENDANT:
    (AVlSO AL DEMANDADO):                                                                                                           FEB 23 2021
    HONIE DEPOT U.S.A., INC., a Delaware corporation, and DOES 1-50, inciusive,                                        3W R, CaW, EtWffiBVW)G6tltof I
                                                                                                                                                          DepUly
~   YOU ARE BEINO SUED BY PLAINTIFF:                                                                                         By. Kr484ina Vargae,
~   (LO ESTA DENPANDANDO EL DEMANDANTE):

~   VICTOR PIMENTEL, as an individual and on behalf of others similarly situated,
     NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
~    below.
       You have 30 CAtENDAR DAYS after thfs summons and legal papers are served on you to file a wrilten response at this court and have a copy
    served on the plaintiff. A letter or phone cail wiil not protect you. Your wriften response must be in proper legal form if you want the court to hear your
    case. There may be a court form that you can use for your response. You can ftnd these court forms and more information at the Califomia Courts
    Online Self-Help Center (tvww.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
    court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
    be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
    referrai senfice. Ifyou cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
    these nonprofit groups at lhe California Legal Services Web site (wanv.lawhelpcal'rfomla.org), the California Courts Oniine Self-Help Center
    (wwvr.courtinfo,ca.gov/selthelp), or by eontacting your local court or caunty bar association. NOTE: The court has a statutory lien for waived fees and
     costs on any settiement or arbltration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
     lAV1S01 Lo han demandado. Sl no responde dentro de 30 dias, la corte puede decidlr en su contra sin escuchar su versl6n. Lea la lnformacidn a

        Tiene 30 DIAS DE CALENDARlO despuBs de que le antreguen esta citaci6n ypapeles /egales para pn;sentar una respuesta por escrito en esta
        rte y hacer que se entregue una copla al demandante. Una carta o una llamada tefef6nica no lo protegen. Su respuesta por escrito tiene que estar
       I fomrato legal corrscto si desea que procesen su caso en la corfe. Es posibfe que haya un fonnulario que usted pueda usar para su respuesta.
       rede encontrar estos formularios de ta corfe y m6s informacl6n en el Centro de Ayuda de las Cortes de Califomia {Nnvw.sucorte.ce.govJ, en ia
       ilioteca de leyes de su condado o en la corte que le quede m6s cerca. Slno puede pagarla cuota de presentaci6n, pida al secretario de ta corte que
        de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a flempo, puede perder el caso por incumplimiento y ia corte fe podra
       dtar su sueldo, dinero y bianes sin mds advertencia.
        Nay ofros nsqufsitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede Namar a un servicio de
       misidn a abogados_ S1 no puede pagara un abogado, es poslble que cumpla con los requisitos para obtenerservlcios iegales gratuitos de un
       ograma de serviclos legales sin fines de lucro. Puede encontrar estos grupos sin Iines de lucro en el sitio web de California Legal Services,
       wlv.lawhelpcaflfornia.org), en el Centro de Ayuda de /as Cortes de Califomia, (=w.sucorte.oa,gov) o ponl6ndose en contacto con la corte o el
       Jegio de abogados locales. AV1S0: Porley, ia corte tiene derecho a reclrrmarlas cuotas y los costos exentos porimponer un gravamen sobre
       alqulerrecuperaci6n de $10,000 6 m6s de valorrecibida mediante un acuerdo o una concesi'6n de arbifraje en un caso de derecho civJl. Tlene que
       igar e/ gravamen de la corte antes de que la corie pueda desechar el caso.
    The name and address of the court is:
    (EI nombre y direcci6n de !a corte es): Superior Court of California
    County of Los Angeles, Central Civil West Courthouse
    312 North Spring Streel, tos Angeles, California 90012
    The name, address, and telephone number of plaintift's attomey, or plaintiff without an attorney, is: (Et nombre, la direccf6n y ei numero
    de telafono del abogado del demandante, o def demandante que no tiene abogado, es):
    Jackson Law, APC, 2 Venture Plaza, Ste. 240, Irvine, CA 92618, Tel: 949-281-6857, Armond M. Jackiqp;,,~a ~                   S
                                                                                                              ~JAi
    DATE:            FEB 2 3 2021                           SHERRI R. CAR~'ER     Clerk, by                                            Deputy
                                                                                                                                     (Adjunto)
    (Fecha)                                                                       (Secretarto)
    (For proof of service of this surnmons, use Proof of Service of Summons (form POS-010).)
    (Para prueba de entrega de esta citati6n use el formufario Proof of Service of Summons, (POS-010).)
                                      NOTICE TO THE PERSON SERVED: You are served
     [SEAL]
                                          1. 0        as an individual defendant.
                                          2. []       as the person sued under the fictitious name of (specify):

                                          3. =        on behalf of (SpeCify): Home Depot U.S.A, Inc., a Delaware corporation
                                               under: Q       CCP 416.10 (corporatlon)                          Q      CCP 416.60 (minor)
                                                      ~       CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                                                       [~     CCP 416.40 (association or partnership)           0      CCP 416.90 (authqrized person)
                                                       =     other (specify):
                                          4.     1    by personal delivery on (date)
    Form Aboplou forldandatory Use                                                                                                code of Civ;i Froaetlum §§ 412.20, 48s
    Judicial CAunc7l ot CaliforR9a
                                                                          SUMMONS                                                                    vn5w.o0ulfs.W.gov
    SUM•1o0 [Rev. July 1, 2DM]

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                                                                                                                         EXHIBIT A, PAGE 14
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                                                                                         CONFORWE~ CUNY
                                                                                           ORIatNAL LP-d
                1       ARMOND M. JACKSON, Bar No. 281547                                Sup~uo~p°~~Ange~omia
                        ajackson@jlaw-pc.com
                    2   Andrea M. Fernandez-Jackson, SBN 295924                              C   FEB 23 2021
                3
                        JACKSON LAW, APC
                        2 Venture Plaza, Suite 240                                 StW P. Carte; Execulive OfiioedC,lerk CtNott
~               4       Irvine, CA 92618                                                 By Krbbne Vargas,
                        Telephone: 949.281.6857
~               5       Fax No.:    949.777.6218
~
~               6       Attorney for Plaintiff Victor Pimentel
                7

                8

                9

                10

                11                              SUPERIOR COURT OF STATE OF CALIFORNIA
                                                    FOR THE COUNTY OF LOS ANGELES
                12

                13
                        VICTOR PIMENTEL, as an individual and     ~ Case No. 21 S T C v O 7 3 1 7
                14      on behalf of others similarly situated,   )
                                                                  ) Assigned to Honorable
                15
                                        Plaintiff,                )
                16
                                vs.                                 CLASS ACTION CLAIMS
                17

                18
                         HOME DEPOT U.S.A., INC., a Delaware        COMPLAINT FOR:
                         corporation, and DOES 1-50, inclusive,
                19                                                    1. CLAIM FOR FAILURE TO PAY
                                        Defendant.                       OVERTIME (LAB. CODE §§
                20                                                       1194, 510, 1198, IWC WAGE
                                                                         ORDERS 4, 7, 9§ 3)
                21
                                                                      2. CLAIM FOR FAILURE TO PAY
                22                                                       MINIMUM WAGE (LAB. CODE
                                                                         § 1194)
                23

                24                                                     3. CLAIM FOR FAILURE TO
                                                                          PROVIDE AND MAINTAIN
                25                                                        ACCURATE ITEMIZED WAGE
                                                                          STATEMENTS (LAB. CODE §
                26                                                        226(a))
           !1
           LL.
           >,. 27
           Oa                                                          4. CLAIM FOR FAILURE TO PAY
                28                                                        TIMELY WAGES (LAB. CODE §
                                                                          210)

                                                     CLASS ACTION COMPLAINT-1



                                                                                             EXHIBIT A, PAGE 15
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          1
                                                   5. CLAIM FOR FAILURE TO PAY
          2                                           FOR NECESSARY EXPENSES
                                                      (CAL. LAB. CODE § 2802)
          3

          4                                        6. UNLAWFUL BUSINESS
                                                      PRACTICES UNDER (BUS. AND
          5                                           PROF. CODE, § 17200, ET SEQ.)
          6

          7
                                                   [JURY DEMAND]
          8

          9

         10

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                                  CLASS ACTION COMPLAINT-2


                                                                    EXHIBIT A, PAGE 16
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 1           Plaintiff Victor Pimentel ("Plaintiff" or "Mr. Pimentel") make the following allegations
 2   against Defendant Home Depot U.S.A., Inc. (referred to herein as "Defendant", "Defendants"
 3   "HD"), and. DOES 1-50:
 4                                          INTRODUCTION
 5   l.      Plaintiffs bring this class action on behalf of all non-exempt employees (collectively
 6   referred to herein as "Class Members" or "Subclass Members") employed by Defendant and,
 7   DOES 1-50 in California from the date four years prior to the filing of this Complaint through
 8   the date of trial in this action.
 9   2.      In this action, Plaintiff, on behalf of himself and all Class Members, Subclass Members
lo   seek unpaid overtime wages, minimum wages, unlawful deductions, wage statement penalties,
11   and wages upon termination. Statutory penalties, restitution, declaratory and injunctive relief,
12   attorneys' fees and costs, prejudgment interest and other relief under California lndustrial
13   Welfare Commission (I.W.C.) Wage Order 4-2001, 8 Cal. Code of Reg. section 11050 ("Wage
14   Order 4-2001"), Wage Order 7-2001, 8 Cal. Code ofReg. section 11050 ("Wage Order 7-
15   2001"), California Labor Code (Labor Code") sections 510, 1174 1182.12, 1194, 1197,
16   1197.1, 1198, 2699.5, California Code of Civil Procedure section 1021.5, California Business
17   and Professions Code sections 17200 et seq. ("UCL"), and California common law.
18   3.      The "Class Period" is designated as the time from four years prior to the filing of this
19   Complaint through the trial of this action based upon the allegation that the violations of the
20   Labor Code and UCL, as described more fully below, have been ongoing since at least four
21   years prior to the date of the instant Complaint in this action and are continuing.
22   4.      During the Class Period, Defendant had a consistent policy and/or practice of (1) failing
23   to compensate such Class Members and Subclass Members with overtime hours at the
24   appropriate rates; (2) failing to compensate Class Members and Subclass Members with
25   minimum wages; (3) failing to reimburse Class Members and Subclass Members for necessary
26   business expenses.
27   5.      Accordingly, Defendant violated UCL, with the violations of the California wage and
28   hour laws described above.



                                     CLASS ACTION COMPLAINT-3


                                                                                   EXHIBIT A, PAGE 17
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 1                                         GENERAL ALLEGATIONS
 2   Parties and Venue.
 3   6.         Plaintiff Mr. Pimentel, is, and at all relevant times was, a citizen and resident of the
 4   County of Los Angeles, in the State of California.
 5   7.         Plaintiff is informed and believes and on that basis alleges that at all relevant times

 6   Defendant Home Depot U.S.A., Inc. is a Delaware corporation doing business in the State of
 7   California with a principal place of business located at 2455 Paces Ferry Road, Atlanta, Georgia,
 8   30339.

 9   8.         In light of the facts that the wrongful acts of this defendant occurred and the causes
lo   against them arose in Los Angeles County, State of California, jurisdiction and venue is proper
11   in Los Angeles County.
12   Doe Allegations.
13        9. Plaintiff does not presently know the true names and capacities of defendant named as

14   Doel through Doe 50, inclusive. Plaintiff will amend this complaint, setting forth the true names
15   and capacities of these fictitious defendants, when they are ascertained. Plaintiff is informed and
16   believes and on that basis alleges that each of the fictitious defendants have participated in the
17   acts alleged in this complaint to have been done by the named defendants.
18   Vicarious Liability.
19        10.     Unless otherwise indicated, each defendant herein sued is the agent, co-conspirator,
20   joint venturer, partner, and/or employee of every other defendant and, as alleged, has been acting
21   within the course and scope of said agency, conspiracy, joint venture, partnership, and/or
22   employment, with the knowledge and/or consent of co-defendants, and each of them. Plaintiff is
23   informed and believes and thereon alleges that each defendant has authorized and/or ratified the
24   wrongful activities of each of the remaining defendants.
25                      COMMON ALLEGATIONS TO ALL CAUSES OF ACTION
26        11.     Defendant is a retail business.
27        12.     Plaintiff, Class Members and Subclass Members worked for Defendant as non-exempt
28   employees in California.


                                       CLASS ACTION COMPLAINT-4


                                                                                        EXHIBIT A, PAGE 18
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 1      13.    Plaintiff, Class Members. and Subclass Members worked as a non-exempt employee
 2   for Defendant. During this employment a majority of Plaintiff's, Class Members and Subclass
 3   Members work involved customer service, stocking, selling and providing customer service to
 4   customers.
 5    Defendants Failed to Comnensate Plaintiff, Class Members and Subclass Members For
 6    Pre-Shift Inspections
 7      14.Plaintiff, Class Members and Subclass Members were subjected to pre-shift inspections

 8   off-the-clock work before being allowed to clock in which is a violation of California Labor
 9   Code sections 210, 221, 510 and 1194 and the applicable California lndustrial Welfare
10   Commission wage order(s). The Defendant failed to compensate Plaintiff, Class Members and
11   Subclass Members for all time spent working during this pre-shift inspection. The unpaid
12   working time during these pre-shift inspections would have been paid. These employees were
13   entitled to minimum wages and/or overtime wages for this time.
14   Defendants Did Not Reimburse Plaintiff and Employees for Necessary Business Expenses
15      15.Defendants pressured, encouraged and required Plaintiff, Class Members, Subclass
16   Members and similarly situated employees to download an application to use on the personal cel
17   phone devices to help service customers including locating merchandise, checking inventory,
18   prices and other benefits for the customer shopping in the store. Defendant did not reimburse for
19   pressuring, encouraging and requiring its workers to use their personal cell phone devices.
20   Defendant Failed to Provide Accurate Wage Statements to Plaintiffs, Class Members and
21   Subclass Members
22      16. Defendant knowingly and intentionally provided Plaintiff, Class Members and Subclass
23   Members with uniform incomplete and inaccurate wage statements. Defendant failed to list ,
24   wages earned, total hours worked, net wages earned, and all applicable hourly rates in effect
25   during the pay period, including overtime rates of pay, and the corresponding number of hours
26   worked at each hourly rate. Defendant failed to record the time Plaintiff, Class Members and
27   Subclass Members spent during pre-shift inspections and list the correct amount of gross wages,
28




                                  CLASS ACTION COMPLAINT-5


                                                                                 EXHIBIT A, PAGE 19
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     net wages, total number of hours worked, the applicable hourly rates of pay in effect during the
 2   pay period and corresponding number of hours worked as each hourly rate.
 3                                  CLASS ACTION ALLEGATIONS

 4      17.    This action is maintainable as a representative action pursuant to California Code of
 5   Civil Procedure section 382 as to violations of Wage Order 4-2001, Wage Order 7-2001, Labor
 6   Codes and UCL minimum wages, overtime and double time wages, and attorneys' fees and
 7   costs. Plaintiff is a representative of other Class Members and Subclass Members and is acting
 8   on behalf of their interests. The similarly situated employees are known to Defendant and are
 9   readily identifiable and locatable through Defendant's own employment records. The Class and
lo   Subclasses that Plaintiff seeks to represent is defined as follows:
11
        18.    The Class the Plaintiff seeks to represent is defined as follows:
12

13
                    All persons who were employed by Defendant as nonexempt employees, in
14                  California at any time from four years prior to the date of filing of this action
                    through the date of trial (referred to herein as "Class Members").
15

        19.    The Subclass 1 the Plaintiff seeks to represent is defined as follows:
16

17                  All persons who were employed by Defendant in California as nonexempt
                    employees at any time from four years year prior to the date of filing of this actiol
18                  through the date of signed order certifying the class and subjected to policies.
                    procedures or practices of having to use its personal cell phone for work purposes
19
                    without reimbursement.
20
        20.    The Subclass 2 the Plaintiff seelcs to represent is defined as follows:.
21

22
                    All persons who were employed by Defendant in California as nonexempt
                    employees at any time from three years year prior to the date of filing of this
23                  action through the date of signed order certifying the class and subjected to
                    policies. procedures or practices of having to use its personal cell phone for work
24
                    purposes without reimbursement.
25

26      21.    The Subclass 3 the Plaintiff seeks to represent is defined as follows:
27
                    All persons who were employed by Defendant in California as nonexempt
2s                  employees at any time from four years prior to the date of filing of this action



                                   CLASS ACTION COMPLAINT-6


                                                                                    EXHIBIT A, PAGE 20
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                     through the date of signed order certifying the class and subjected to pre-shift
 1
                     inspections in which they were not paid for all hours worked.
 2
        22.    The Subclass 4 the Plaintiff seeks to represent is defined as follows:
 3

                     All persons who were employed by Defendant in California as nonexempt
 4
                     employees at any time from three years prior to the date of filing of this action
 5                   through the date of signed order certifying the class and subjected to pre-shift
                     inspections in which they were not paid for all hours worked.
 6

          23    The Subclass 5 the Plaintiff seeks to represent is defined as follows:
 7

 8                   All persons who were employed by Defendant in California as nonexempt
                     employees at any time from one year prior to the date of filing of this action
 9                   through the date of signed order certifying the class and subjected to pre-shift
lo                   inspections in which they were not paid for all hours worked.

11

12       24. Subclass Members 1, Subclass Members 2, Subclass Members 3, Subclass Members 4,

13   and Subclass Members 5, shall be collectively referred to herein as ("Subclass Members").

14       25. The individuals included within the alleged Class Members and Subclass Members 1,

15   Subclass Members 2, Subclass Members 3, Subclass Members 4 and Subclass Members 5, are

16   over one hundred (100) and is so numerous that joinder of each of them would be impracticable,

17   and the disposition of their claims in a class action, rather than in numerous individual actions,

18   will benefits the parties, the Court, and the interests of justice.

19       26.   Among the proposed Class Members and Subclass Members there are a well-defined

20   community of interest in the questions of law and/or fact involved, affecting the Class Members

21   and Subclass Members, these common questions include, but are not limited to:

22               a. Whether Defendant's failure to provide Class Members and Subclass Members

23                   with entitled correct overtime wages for all hours worked above 8 hours per day

24                   or forty hours per week violates Labor Code sections 512, 1194 and Wage Order

25                   4-2001, Wage Order 7-2001;

26               b. Whether Defendant's various violations of the Labor Code serve as predicate

27                   violations of the UCL.

28




                                     CLASS ACTION COMPLAINT-7


                                                                                   EXHIBIT A, PAGE 21
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                 c. Whether Defendants' failure to provide Class Members and Subclass Members
  I                  with entitled minimum wages for all hours worked violates Labor Code sections
  3                  1194 and Wage Order 4-2001, Wage Order 7-2001;
  4              d. Whether Defendants' failure to provide Class Members and Subclass Members
  5                  with accurate itemized wage statements violates Labor Code section 226(a);

  6              e. Whether Defendants' failure to reimburse Class Members and Subclass Members
  7                  violates Labor Code section 2802.

  8      27.    Common questions of law and/or fact predominate over questions that affect only

  9   individual Class Members and Subclass Members.
 10      28.    Plaintiff's claims are typical of those belonging to the members of the Class and
 11   Subclass they seek to represent, and Plaintiff can adequately represent the Class and Subclass
 12   they seek to represent.
 13                                FIRST CAUSE OF ACTION
       (Claim For Failure to Pay Overtime Wage in Violation of Labor Code §§ 510, 1194, 1198
 14
        and IWC Wage Order 4, § 3, IWC Wage Order 7, § 3, by Plaintiff, Class Members and
 15                 Subclass Members lAgainst All Defendants and DOES 1=50)

 16
         29.    Plaintiff incorporates all of the allegations set forth in each of the paragraphs above

 17
      and below by reference as though set forth in full in this cause of action.

 is      30.    Plaintiff brings this claim on behalf of the Class Members and Subclass

 19
      Members.

 20
         31.    Throughout Plaintiffs, Class Members and Subclass Members employment, they

 21
      worked above 8 hour daily working shifts and 40 hours per week. Defendants did not

 22
      compensate Plaintiffs, Class Members and Subclass Members for all entitled overtime and

 23
      double-time hours worked above 8 hours in a day and 40 hours per week with the correct amount

 24
      as it failed to pay Plaintiff, Class Members and Subclass Members for all hours worked including

 25
      all time worked during pre-shift inspections.

 26
         32.    Plaintiff, Class Members and Subclass Members are entitled to overtime and

 27
      double time compensation according to proof at the time of trial under Labor Code sections 510,

 2s
      1194 subdivision (a), 1198 enforcing, Wage Order 4, Wage Order 7. Defendant's failure to pay



                                    CLASS ACTION COMPLAINT-8


                                                                                    EXHIBIT A, PAGE 22
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  1   Plaintiffs, Class Members and Subclass Members as required by the applicable wage order,
  2   violates the provision of Labor Code section 1194, subdivision (a) and is therefore unlawful.
  3   Defendant also violated Labor Code section 510.
  4       33.    Plaintiff, Class Melnbers and Subclass Melnbers are entitled to earnings for all hours
  5   worked, including overtime and double overtime. Plaintiff is also entitled to recover the
  6   statutory civil fines pursuant to Labor Code section 1194, subdivision (a). The exact amount of
  7   the applicable damages is an amount to be shown according to proof at trial and within the
  s   jurisdictional limits of the Court.
  9                                  SECOND CAUSE OF ACTION
          (Claim for Failure to Pay All Wages, Including All Minimum Wages, Cal. Lab. Code
 lo
          sections 204, 510, 1194, 1194.2 and 1197 and Wage Order 4-2001, By Plaintiff, Class
 11            Members and Subclass Members Against All Defendants and DOES 1-50)

 12
          34.Plaintiff hereby incorporate all of the allegations set forth in each of the paragraphs above

 13
      and below by reference as though set forth in full in this cause of action.

 14
          35.Plaintiff bring this claim on behalf of themselves, the Class Members and Subclass

 15
      Members.

 16
          36.Defendants were required to compensate Plaintiff, Class Members and Subclass Melnbers

 17
      for all hours worked pursuant to California Labor Code sections 510 and 1194 and Industrial

 18
      Welfare Commission Wage Order 4-2001 Section 3, Wage Order 7-2001 Section 3. Defendants

 19
      failed to pay Plaintiff, Class Members and Subclass Members for all hours worked including all

 20
      time worked during pre-shift inspections. Plaintiff, Class Members and Subclass Members are

 21
      entitled to minimum wages and civil penalties as a consequence of this failure.

 22
          37.Defendants were required to pay Plaintiffs, Class Members and Subclass Members for all

 23
      of the minimum wages they are entitled to pursuant to California Labor Code sections 510 and

 24
      1194, Industrial Welfare Commission Wage Order 4-2001 Section 3 and Industrial Welfare

 25
      Commission Wage Order 7-2001 Section 3. Defendants failed to do so. Plaintiff, Class Meinbers

 26
      and Subclass Members are entitled to civil penalties and owed wages as a consequence of this

 27
      failure.

 2s




                                     CLASS ACTION COMPLAINT-9


                                                                                    EXHIBIT A, PAGE 23
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          38.As a direct result of Defendants' violations alleged herein, Plaintiffs, Class Members and
      Subclass Members have suffered and continues to suffer substantial losses related to the use and
      enjoyment of such wages, including lost interest on such monies and expenses and attorney's fee:
      in seeking to compel Defendants to fully perform its obligation under state law, all to their
      respective damage in amounts according to proof at trial and within the jurisdictional limitations
      of this Court.
          39.As a result of the violations alleged herein, Plaintiff, Class Members and Subclass
      Members seeks all civil penalties and unpaid wages available pursuant to the Labor Code and
      Wage Order 4-2001, Wage Order 7-2001 including an award of interest on the unpaid wages
 lo   plus reasonable attorney's fees and costs and civil penalties. The exact amount of the applicable
 11   penalties is an amount to be shown according to proof at trial.
                                      THIRD CAUSE OF ACTION
 12    (For Failure to Furnish Accurate Itemized Wage Statements in Violation of Lab. Code §
      226 By Plaintiff, Class Members and Subclass Members Against All Defendants and DOE
 13
                                                   1-50)
 14       40. Plaintiffs, Class Members and Subclass Members hereby incorporates all of the
 15   allegations set forth in each of the paragraphs above and below by reference as though set forth
 16   in full in this cause of action.
 17      41.Plaintiff brings this claim on behalf of themselves, Class Members and Subclass
 18   Members.
 19      42.Throughout the Class Period, Defendant failed to comply with Labor Code 226(a) by
 20   failing to provide wage statements and failing to provide the wage statements of Plaintiff, Class
 21   Members and Subclass Members did not accurately reflect each employee's applicable total
 22   hours worlced, net wages earned, gross wages earned and actual applicable wage rate all in
 23   violation of California Labor Code Section 226(a), specifically sections 1-2, 4-5 and 9.
 24      43.Due to the fact that Defendants excluded the hours' worth of work that should have been
 25   reflected on their wage statements for due to failure to [ay for all hours worked. Defendants
 26   violated California Labor Code Section 226(a), specifically sections 1-2, 4-5 and 9. As a direct
 27   result of Defendants' intentional violations alleged herein, Plaintiffs, Class Members and
 2s   Subclass Members have suffered and continues to suffer substantial losses related to the use and


                                     CLASS ACTION COMPLAINT-10


                                                                                    EXHIBIT A, PAGE 24
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       enjoyment of such wages, including lost interest on such monies and expenses and attorney's fee
  2    in seelcing to compel Defendants to fully perform their obligation under state law, all to their
  3    respective damage in amounts according to proof at trial and within the jurisdictional limitations
  4    of this Court. The exact amount of the applicable civil penalties is an amount to be shown
  5    according to proof at trial and an award of reasonable attorney's fees and costs.
  6                                 FOURTH CAUSE OF ACTION
          (Claim For Failure to Pay Timely Wages in Violation of Labor Code § 210 by Plaintiff,
  7
           Subclass and Class Against All Defendants Against All Defendants and DOES 1-50)
  8
            44.Plaintiff hereby incorporates all of the allegations set forth in each of the paragraphs
  9
       above and below by reference as though set forth in full in this cause of action.
 lo         45.Pursuant to Labor Code section 210, an employer may not fail to pay the wages of each
 11
       employee.
 12
            46.Plaintiff brings this claim on behalf of itself, the Class Melnbers and Subclass Members.
 13
            47.Defendant failed to pay. Plaintiff, Class Members and Subclass Members minimum and
 14
       overtime wages ages as required by California Labor Code section 210. As a result, Defendant's
 15
       are liable to Plaintiffs, Class Members and Subclass Members, plus reasonable attorney's fees
 16
       and costs of suit.
 17
            48.Plaintiff, on behalf of itself, Class Melnbers and Subclass Members, also request relief as
 18
       described below.
 19
            49.The exact amount of the applicable damages is an amount to be shown according to proof
 20   1 at trial.
NU
                                      FIFTH CAUSE OF ACTION
 22       (Claim For Failure to Reimburse Plaintiff for AIl Necessary Expenses Per Lab. Code §§
                           2802, 2804 Plaintiff, Class and Subclass Against All)
 23
            50.Plaintiff hereby incorporates all of the allegations set for in each of the paragraphs above
 24
       and below by reference as though set forth in full in this cause of action.
 25
            51.Plaintiff brings this claim on behalf of itself, the Class Members and Subclass Members.
 26
            52.Plaintiff, Class Members and Subclass Members were non-exempt employees of
 27
       Defendant. In the course of their employment, Plaintiff, Class Members and Subclass Members
 28




                                      CLASS ACTION COMPLAINT-11


                                                                                       EXHIBIT A, PAGE 25
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  1   were not reimbursed for expenses arising in the course and scope of their services. These
  2   expenses included, but not limited to, use of personal cell phones,
  3       53.Plaintiff, Class Members and Subclass Members were not exempt elnployees and entitled

  4   to the protections of IWC Order 4-2001, IWC Order 7-2011, (Title 8 of the California Code of
  5   Regulations § 11090), and California Labor Code § 200, 500, 1194, 1197, and 1198).
  6       54.At all times herein mentioned Plaintiff, Class and Subclass were subject to Labor Code §
  7   2802 which states that "an employer shall indelnnify his or her employees for all necessary
  8   expenditures or losses incurred by the employee indirect consequence of the discharge of his
  9   duties, or of his obedience to the directions of the employer."
 lo       55.At all times herein mentioned Plaintiff, Class and Subclass were subject to Labor Code §
      2804 which states that "any contract or agreement, express or implied, made by any employee to
 12   waive the benefits of this article or any part thereof, is null and void, and this article shall not
 13   deprive any employee or his personal representative of any right or remedy to which he is
 14   entitled under the laws of this State."
 15       56.As a proximate result of Defendant's policies in violation of Labor Code §§ 2802 and
 16   2804, Plaintiff, Class Members and Subclass Members suffered damages in sums, which will be
 17   shown according to proof to be in excess of the jurisdictional minimum of this Court.
 18       57.Plaintiff is entitled to expenses, attorney's fees. Interest, and costs of suit pursuant to
 19   Labor Code § 2802(c) for bringing this action.
 20       58.Pursuant to Labor Code § 2802(b), in any action brought for the reimbursement of
 21   necessary expenditures under this section shall carry interest at the same rate as judgment in civil
 22   actions. Interest shall accrue from the date on which the employee incurred the necessary
 23   expenditure. Plaintiff, Class Members and Subclass Members are entitled to said_ interest.
 24       59.Plaintiff, Class Members and Subclass Members are entitled to reimbursement for
 25   expenses including, but not limited to, reimbursement for expenses in connection to being
 26   required to use personal cell phones, attorney's fees, interest, and costs of suit pursuant to Labor
 27   code § 2802 for bringing this action.
 28




                                     CLASS ACTION COMPLAINT-12


                                                                                       EXHIBIT A, PAGE 26
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  1                                 SIXTH CAUSE OF ACTION
                  (For Unlawful Business Practices-Bus. & Prof. Code § 17200 et seq.)
  2
       By Plaintiff, Class Members and Subclass Members Against All Defendants and DOES 1-
  3                                              50)

  4
         60.    Plaintiff hereby incorporate all of the allegations set forth in each of the paragraphs

  5
      above and below by reference as though set forth in full in this cause of action.

  6
         61.    Plaintiff brings this claim on behalf of herself and the Class Members and Subclass

  7
      Members.

  s      62.    Business & Professions Code section 17200 states "As used in this chapter, unfair

  9
      competition shall mean and include any unlawful, unfair or fraudulent business act or practice

 lo   and unfair, deceptive, untrue or misleading advertising and any act prohibited by Chapter 1

 11
      (colnlnencing with Section 17500) of Part 3 of Division 7 of the Business and Professions

 12
      Code."

 13
         63.    Through Defendant's conduct during the applicable statutory period including, but not

 14
      limited to, the conduct alleged herein, including that alleged on information and belief, the

 15
      Defendant has engaged in business practices in California by practicing, employing, and

 16
      utilizing, the employment practices outlined in the preceding paragraphs all in violation of

 17
      California law and the applicable Industrial Welfare Commission Wage Order. Defendant's use

 ls   of such practices constitutes an unfair business practice, unfair competition, and provides as

 19
      unfair advantage over Defendant's competitors doing business in the State of California that

20
      comply with their obligations to properly provide employment conditions in compliance with the

21
      law and pay employees for all earned wages and compensation as required by law.

22
         64.    Defendant's violations of the California Civil Code, Labor Code and the applicable

23
      Wage Order and their scheme to lower payroll costs as alleged herein constitute unlawful

24
      business practices because these actions were done in a systematic lnanner over a period of time

25
      to the detriment of Plaintiffs, Class Members and Subclass Members. The acts complained of

26
      herein occurred within the last four (4) years preceding the filing of this complaint and include,

27
      but are not limited to, failure to (i) failure to pay California employees at the proper overtime

2s
      wages and minimum wages; (ii) failed to pay wages upon termination as a result of failing to pay



                                    CLASS ACTION COMPLAINT-13


                                                                                    EXHIBIT A, PAGE 27
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  1   California employees at the proper overtime wages and minimum wages; (iii) failing to
  2   compensate Class Members and Subclass Members with minimum wages; (iv) unlawfully
  3   deducting and discounting wages from Class Members and Subclass Members; (v) failing to
  4   issue accurate itemized wage statements; (vi) failing to pay all wages timely upon termination,
  5   resignation or end of employment.. Plaintiff is informed and believes and on that basis alleges
  6   that, at all times herein mentioned, Defendant engaged in the above-mentioned acts of unlawful,
  7   deceptive, and unfair business practices prohibited by California Business and Professions Code
  8   sections 17200 et seq., including those set forth in the preceding paragraph, thereby depriving
  9   Plaintiff of the minimum working condition standards and conditions due, including those under
 lo   Labor Code and Wage Order.
 11       65.   As a result of Defendant's unfair competition as alleged herein, Plaintiff, Class
 12   Members and Subclass Members have suffered injury in fact and lost money or property.
 13   Plaintiffs, Class Members and Subclass Members have been deprived of the rights to accurate
 14   and itemized wage statements, wages and benefits due including those as alleged herein.
 15       66.   Pursuant to California Business & Professions Code section 17203, Plaintiff is entitled
 16   to seek restitution of all wages and other monies owed on behalf of themselves and Class
 17   members and Subclass members belonging to them, including interest thereon, which
 18   Defendant's wrongfully withheld from them and retained for itself by means of its unlawful and
 19   unfair business practices.
20        67.   Plaintiff is entitled to an injunction and other declaratory and equitable relief against .
21    such practices to prevent future damage for which there is no adequate remedy at law, and to
22    avoid a multiplicity of lawsuits.
23       68.     Plaintiff is informed and believes, and on that basis alleges, that the illegal conduct
24    alleged herein is continuing and there is no indication that Defendant's will not continue such
25    activity into the future. Plaintiff alleges that if Defendant's are not enjoined from the conduct set
26    forth in this Complaint, they will continue to fail to pay the wage and compensation required to
27    be paid and will fail to comply with other requirements of the Labor Code and Wage Order.
2s       69.    As a direct and proximate result of Defendant's conduct, Defendants have received



                                    CLASS ACTION COMPLAINT-14


                                                                                     EXHIBIT A, PAGE 28
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  1   and will continue to receive monies that rightfully belong to members of the general public who
  2   have been adversely affected by Defendant's conduct, as well as to Plaintiff by virtue of any
  3   unpaid wages and other monies or penalties associated therewith.
  4      70.      Plaintiffs, Class Members and Subclass Members are entitled and seeks any and all
  5   available remedies including but not limited to restitution and recovery of reasonable attorney's
  6   fees and costs pursuant to California Code of Civil Procedure section 1021.5, Business and
  7   Professions Code section 17200 et seq., the substantial benefit doctrine, and/or the common fund
  8   doctrine.
  9                                         PRAYER FOR RELIEF
 10            WHEREFORE, Plaintiff prays individually and on behalf of the proposed Class and
 11   Subclass Members, prays for judgment against Defendant as follows:
 12            A. Certification of Plaintiff's claims as a class action pursuant to Cal. Code of Civ. Pro.
 13                Section 382, on behalf of the proposed class;
 14            B. Class notice to all Class Members and Subclass Members who worked for Defendant
 15                from four years prior to the filing of the original Complaint through the trial of this
 16                action;
 17            C. Plaintiff be appointed as the representative of the Class;
 18            D. Plaintiff be appointed as the representative of Subclass Members;
 19            E. Counsel for Plaintiff be appointed as counsel for the Class and Subclass Members;
 20            F. The Court declare that, as to former employee Class Members and Subclass
 21                Members, Defendant have violated California Labor Code sections 510, 1194, Wage
 22                Order 4-2001 and Wage Order 7-2001 by failing to compensate the Class Members
 23                and Subclass Melnbers their proper overtime rates;
 24            G. The Court declare that, as to former employee Class Members and Subclass
 25                Members, Defendant have violated California Labor Code sections 1194 and Wage
 26                Order 4-2001 and Wage Order 7-2001 by failing to compensate the Class Members
 27                and Subclass Members their proper minimum wage rates;
 28




                                     CLASS ACTION COMPLAINT-15


                                                                                      EXHIBIT A, PAGE 29
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  1           H. The Court declare that, as to former employee Class Members and Subclass
  2               Members, Defendant have violated California Labor Code sections 226(a) by.failing
  3               to issue accurate itemized wage statements;
  4           I. The Court declare that, as to former employee Class Members and Subclass
  5               Members, Defendant have violated California Labor Code sections 2802 by failing to

  6               reimburse Plaintiff, Class Members and Subclass Members for using their personal

  7               cell phone for work purposes.
  8

  9   First Cause of Action:

 lo   1. For an award of damages to Class Members and Subclass Members pursuant to
 11   Labor Code sections 510 and 1194.
 12   2. The exact amount of the applicable damages is an amount to be shown according to proof at
 13   trial and within the jurisdictional limits of the Court.
 14   3. An award to Class Representative Plaintiff Class Members and Subclass Members of
 15   reasonable attorneys' fees and costs, pursuant to California Civil Procedure Code section 1021.5,
 16   California Labor Code section 218.5, 1194, 510 and/or other applicable law.
 17

 ia   Second Cause of Action:

 19   4. For an award for the Class Members and Subclass Members for owed wages and penalties,
20    plus interest pursuant to Labor Code section 1194.
21    5. The exact amount of the applicable damages is an amount to be shown according to proof at
22    trial and within the jurisdictional limits of the Court.
23    6. An award to Class Representative Plaintiff, the Class Members and Subclass Members of
24    reasonable attorneys' fees and costs, pursuant to California Civil Procedure Code sections 1021.`
25    and California Labor Code sections 2.03, 218.5, 226, 226.7 and/or other applicable law.
26

27    Third Cause of Action:

2s    7. For an award for the Class Members and Subclass Members for owed wages and penalties,


                                    CLASS ACTION COMPLAINT-16


                                                                                 EXHIBIT A, PAGE 30
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  1   plus interest pursuant to Labor Code section 226(a).
  2   8. The exact amount of the applicable damages is an amount to be shown according to proof at
  3   trial and within the jurisdictional limits of the Court.
  4   9. An award to Class Representative Plaintiff, the Class Members and Subclass Members of
  5   reasonable attorneys' fees and costs, pursuant to California Civil Procedure Code sections 1021.:
  6   and California Labor Code sections 203, 218.5, 226, 226.7 and/or other applicable law.
  7

  8

  9   Fourth Causes of Action:

 lo   10. For an award of damages to Plaintiffs and the Class Members and Subclass Members
 11   pursuant to Labor Code section 210.
 12   11. The exact amount of the applicable damages is an amount to be shown according to proof at
 13   trial and within the jurisdictional limits of the Court.
 14   12. An award to Class and Subclass Representative Plaintiff, and the Class Members and
 15   Subclass Members of reasonable attorneys' fees and costs, pursuant to California Civil
 16   Procedure Code section 1021.5, California Labor Code section 210 and/or other applicable law.
 17

 18   Fifth Causes of Action:

 19   13. For an award of damages to Plaintiff and the Class Members and Subclass Members
 20   pursuant to Labor Code section 2802 et seq.
 21   14. The exact amount of the applicable damages is an amount to be shown according to proof at
 22   trial and within the jurisdictional limits of the Court.
 23   15. An award to Class and Subclass Representative Plaintiff, and the Class Members and
 24   Subclass Members of reasonable attorneys' fees and costs, pursuant to California Civil
 25   Procedure Code section 1021.5, California 2802 et seq., and/or other applicable law.
 26

 27   Sixth Cause of Action:

 28   16. For a temporary restraining order, a preliminary injunction, and a permanent injunction



                                    CLASS ACTION COMPLAINT-17


                                                                                 EXHIBIT A, PAGE 31
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  1   enjoining Defendant and its agents, servants and employees, and all persons acting under, in
  2   concert with, or for Defendant from engaging in the unlawful, unfair, and fraudulent acts and
  3   business practices described in Paragraphs 60 through 70 above;
  4   17. For restitution, lost wages and penalties therewith;
  5   18. For pre judgment and post judgment interest to the extent permitted by law;
  6   19. For an award of attorneys' fees and costs incurred in the investigation, filing and prosecutior
  7   of this action pursuant to Code of Civil Procedure section 1021.5, Business and Professions Cod
  8   sections 17200, et seq., Labor Code section 1194 and any other applicable provision of law; and
  9   20. For such other relief as the Court deems just and proper.
 ]0

 11   As to All Causes of Action:
 12   21. For reasonable attorneys' fees and costs incurred
13    22. Interest accrued to date under the California Labor Code, including under Sections 226.7;
 14   23. For such other and further relief as this Court may deem just and proper.
15

 16
      Dated: February 23, 2021                                     Jackson Law, APC

17
                                                        By:_/s/ Armond M. Jackson
18                                                         Armond M. Jackson
                                                           Attorneys for Plaintiff Victor Pimentel
19

20

                                       DEMAND FOR JURY TRIAL
21

             Plaintiff Victor Pimentel demands a jury trial in the above captioned matter.
22

23    Dated: February 23, 2021                                     Jackson Law, APC

24
                                                        By:_/s/ Armond M. Jackson
25                                                         Armond M. Jackson
                                                           Attorneys for Plaintiff Victor Pimentel
26

27

28




                                    CLASS ACTION COMPLAINT-18


                                                                                   EXHIBIT A, PAGE 32
